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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                          :

                     vs.                           :      Case No.: 21-cr-00287 (TNM)

KEVIN SEEFRIED,                                    :

              Defendant.                           :

                                 NOTICE OF APPEAL

Name and address of appellant:                     Kevin Seefried

Name and address of appellant’s attorney:          Eugene Ohm
                                                   Elizabeth Mullin
                                                   Assistant Federal Public Defender
                                                   Office of the Federal Public Defender
                                                   625 Indiana Ave., N.W., Suite 550
                                                   Washington, DC 20004

Offense: 18 U.S.C. 1512(C)(2) And 2; Tampering With A Witness,Victim Or Informant;
Obstruction Of An Official Proceeding And Aiding And Abetting(1s); 18 U.S.C. 1752(A)(1);
Temporary Residence Of The President; Entering And Remaining In A Restricted Building Or
Grounds (2s); 18 U.S.C. 1752(A)(2); Temporary Residence Of The President; Disorderly And
Disruptive Conduct In A Restricted Building Or Grounds (3s); 40 U.S.C. 5104(E)(2)(D); Violent
Entry And Disorderly Conduct On Capitol Grounds; Disorderly Conduct In A Capitol Building
(4s); 40 U.S.C. 5104(E)(2)(G); Violent Entry And Disorderly Conduct On Capitol Grounds;
Parading, Demonstrating, Or Picketing In A Capitol Building (5s).

Concise statement of judgment or order, giving date, and any sentence: Sentencing held on
2/9/2023 as to Kevin Seefried, Defendant sentenced to a term of Thirty-Six (36) Months of
Incarceration on Count 1s, a term of Twelve (12) Months on Counts 2s and 3s each, a term of
Six (6) Months on Counts 4s and 5s each, to run concurrently, followed by a term of Twelve (12)
Months of Supervised Release on Counts 1s, 2s, 3s, to run concurrently. $100 Special
Assessment imposed on Count 1s, $25 Special Assessment imposed on Counts 2s and 3s, $10
Special Assessment imposed on Counts 4s and 5s. Total Special Assessment of $170 imposed.
Restitution in the amount of $2,000.00.
Name of institution where now confined, if not on bail: Personal Recognizance Bond

        I, the above-named appellant, hereby appeal to the United States Court of Appeals
for the District of Columbia from the above-stated judgment.
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February 17, 2023                                     Kevin Seefried
DATE                                                  APPELLANT


CJA, NO FEE         FPD                               Eugene Ohm
                                                      Elizabeth Mullin
PAID USDC FEE        NO                               ASSISTANT FEDERAL PUBLIC DEFENDER
PAID USCA FEE        NO                               ATTORNEY FOR APPELLANT

Does counsel wish to appear on appeal? Yes
Has counsel ordered transcripts? No
Is this appeal pursuant to the 1984 Sentencing Reform Act? Yes
